Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 1 of 30 PageID #: 1




                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                  LAKE CHARLES DIVISION

AMERICAN PETROLEUM INSTITUTE,                  *       CIVIL ACTION
AMERICAN EXPLORATION &
PRODUCTION COUNCIL,                            *       NO:
INDEPENDENT PETROLEUM
ASSOCIATION OF AMERICA,                        *       JUDGE
INTERNATIONAL ASSOCIATION OF
DRILLING CONTRACTORS,                          *       MAG. JUDGE
INTERNATIONAL ASSOCIATION OF
GEOPHYSICAL CONTRACTORS,                       *
NATIONAL OCEAN INDUSTRIES
ASSOCIATION, MONTANA                           *
PETROLEUM ASSOCIATION, NORTH
DAKOTA PETROLEUM COUNCIL,                      *
PETROLEUM ALLIANCE
OF OKLAHOMA, SOUTHEAST OIL                     *
AND GAS ASSOCIATION,
UTAH PETROLEUM ASSOCIATION,                    *
AND WESTERN STATES PETROLEUM
ASSOCIATION                                    *

VERSUS                                         *

UNITED STATES DEPARTMENT OF                    *
THE INTERIOR; DEBRA HAALAND,
in her official capacity as Secretary of the   *
Interior; LAURA DANIEL-DAVIS,
in her official capacity as Principal Deputy   *
Assistant Secretary for Land and Minerals
Management; THE BUREAU OF LAND                 *
MANAGEMENT; NADA CULVER,
in her official capacity as Deputy Director    *
of Policy and Programs, Bureau of Land
Management; THE BUREAU OF OCEAN                *
ENERGY MANAGEMENT; and,
AMANDA LEFTON, in her official                 *
capacity as Director of the Bureau of
Ocean Energy Management                        *

*      *       *      *       *       *        *



                                                   1
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 2 of 30 PageID #: 2




                                          COMPLAINT

       Plaintiffs allege as follows:

                                  NATURE OF THE ACTION

       1.      This case concerns whether the U.S. Department of the Interior (“DOI” or the

“Department”) and the Secretary of the Interior, Debra Haaland (the “Secretary”), acting through

the Assistant Secretary, Land and Minerals Management (“ASLM”), the Bureau of Land

Management (“BLM”), and the Bureau of Ocean Energy Management (“BOEM”) (collectively,

the “Defendants”), may institute an indefinite moratorium on all federal oil and gas lease sales

onshore and on the Outer Continental Shelf (“OCS”).

       2.      Defendants halted federal oil and gas lease sales in direct response to Section 208

of President Biden’s Executive Order 14008, Tackling the Climate Crisis at Home and Abroad,

issued on January 27, 2021. See 86 Fed. Reg. 7,619 (Feb. 1, 2021). Section 208 instructs the

Secretary of the Interior to “pause new oil and natural gas leases on public lands or in offshore

waters pending completion of a comprehensive review and reconsideration of Federal oil and gas

permitting and leasing practices.” 86 Fed. Reg. at 7,624-25. The Executive Order further directs

that “[i]n conducting this analysis, and to the extent consistent with applicable law, the Secretary

of the Interior shall consider whether to adjust royalties . . . or take other appropriate action, to

account for corresponding climate costs.” Id. at 7,625.

       3.      Defendants attempted a post hoc repackaging of their recent federal oil and gas

leasing actions as individual “cancellations” or “postponements” supposedly unrelated to each

other or to Executive Order 14008. But since the promulgation of Executive Order 14008,

Defendants have not held a single lease sale—a period stretching more than six months. On



                                                 2
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 3 of 30 PageID #: 3




knowledge and belief, the length of this period without any federal oil and gas lease sale is

unprecedented.

        4.      The uniform and systematic cancellation of all federal oil and gas lease sales since

January 27, 2021, across multiple DOI agencies and their various regional or state offices, confirms

that this is not a mere coincidence. Rather, contrary to their various statutory obligations and duties,

Defendants have imposed a moratorium—express or de facto—on all new oil and gas leasing on

federal lands and in federal waters in response to the President’s directive.

       5.      In establishing the leasing moratorium, Defendants abrogated applicable federal

law that compels Defendants to regularly hold lease sales, engage the public in decisions involving

federal oil and gas leasing, provide reasoned explanations for policy changes, and assess impacts

to the human environment before they act.

       6.      The moratorium must be vacated because it, inter alia:

                    a. violates the Administrative Procedure Act (“APA”), 5 U.S.C. § 706;

                   b. contravenes BLM’s obligation to hold quarterly lease sales in each BLM

                        state office under the Mineral Leasing Act (“MLA”), 30 U.S.C. § 181 et

                        seq., and the Mineral Leasing Act for Acquired Lands (“MLAAL”), 30

                        U.S.C. § 351 et seq.;

                    c. is inconsistent with the Outer Continental Shelf Lands Act’s (“OCSLA”),

                        43 U.S.C. § 1331 et seq., Five-Year Leasing Program requirement and

                        stated purpose to facilitate “expeditious and orderly development” of OCS

                        oil and gas;

                    d. is an unlawful mineral withdrawal under the Federal Land Policy and

                        Management Act (“FLPMA”), 43 U.S.C. § 1701 et seq.;



                                                   3
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 4 of 30 PageID #: 4




                       e. does not conform to applicable Resource Management Plans (“RMPs”),

                            which designate specific areas of public lands as available for oil and gas

                            leasing; and

                       f. violates the National Environmental Policy Act (“NEPA”), 42 U.S.C.

                            § 4321 et seq., including by failing to take the necessary hard look at the

                            potential environmental impacts before its implementation.

                                                     PARTIES1

         7.       Plaintiff American Petroleum Institute (“API”) is a national trade association that

represents approximately 600 members involved in all aspects of the oil and natural gas industry,

including the exploration and production of both onshore and offshore federal resources. Many

API members bid on federal oil and gas leases during federal lease sales, for both onshore and

offshore tracts. Other API members include service and supply firms that rely on servicing federal

oil and gas leases. The industry, including many API members, has paid more than $150 billion in

royalty revenues to the federal treasury. The industry paid nearly $7 billion in lease bonus bid,

lease rental, and royalty revenues to the federal treasury in FY 2020 alone. The U.S. oil and gas

industry as a whole directly and indirectly supports more than 11 million U.S. jobs and makes up

8 percent of the U.S. economy.

         8.       Plaintiff American Exploration & Production Council (“AXPC”) is a national trade

association representing 25 of the largest independent oil and natural gas exploration and

production companies in the United States. AXPC companies are among leaders across the world

in the cleanest and safest onshore production of oil and gas, while supporting millions of

Americans in high-paying jobs and investing a wealth of resources in its communities. Dedicated


1
 Pursuant to Fed. R. Civ. P. 25, Plaintiff’s claims against public office holders in their official capacity are lodged
against the current officers.

                                                            4
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 5 of 30 PageID #: 5




to safety, science, and technological advancement, our members strive to deliver affordable,

reliable energy to consumers while positively impacting the economy and the communities in

which they live and operate.

       9.      Plaintiff Independent Petroleum Association of America (“IPAA”) represents

thousands of America’s independent oil and natural gas producers. IPAA members are the primary

producers of the nation’s oil and natural gas and account for 83 percent of America's oil production

and 90 percent of its natural gas output. Independent producers are a driving force in our economy

and support roughly 4.5 million jobs in the United States. IPAA member companies are innovative

leaders and broke the code to usher in the shale oil and natural gas revolution in the United States.

       10.     Plaintiff International Association of Drilling Contractors (“IADC”), established in

1940 and based in Houston, Texas, operates on six continents, and its members are acknowledged

leaders in onshore and offshore drilling operations around the world. IADC is globally recognized

for its work in providing: accreditation programs for a competent global upstream energy

workforce; technical publications serving industry and regulatory authorities; international

conferences; and, collaborative government-industry advocacy work. IADC’s collective efforts

contribute to operational proficiencies that underpin the world’s upstream energy industry while

sustaining high standards of safety, environmental stewardship, and operational efficiency.

       11.     Plaintiff International Association of Geophysical Contractors (“IAGC”) is a

private non-profit trade association that represents approximately 50 members from all segments

of the geophysical and exploration industry. IAGC engages governments and stakeholders

worldwide on issues central to geophysical operations and exploration access. IAGC’s mission is

to optimize the business and regulatory climate for its members, enhance public understanding of

the geophysical industry, and ensure a strong, viable geophysical and exploration industry. IAGC



                                                 5
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 6 of 30 PageID #: 6




has existed for 50 years and is the only global trade organization solely dedicated to the

geophysical and exploration industry. IAGC works vigorously on behalf of its members on issues

of common interest and industry-wide topics and initiatives that support the continued vitality of

the geophysical and exploration industry. Through advocacy, outreach, and development of

industry guidelines, IAGC focuses on issues that affect the core businesses of the geophysical and

exploration industry, including issues involving the ability of its members to conduct exploratory

activities on the OCS and onshore federal lands. For example, IAGC (i) engages government and

regulatory entities with credible scientific, technical, and legal analyses to both protect the

environment and develop essential energy supplies; (ii) educates its members on regulatory

initiatives and policies affecting the geophysical industry; (iii) organizes consistent industry

positions on emerging policy and regulatory issues; (iv) participates in regulatory proceedings

affecting its members and the geophysical and exploration industry; and (v) when necessary,

engages in litigation on matters that affect its members and the geophysical and exploration

industry.

       12.     Plaintiff National Ocean Industries Association (“NOIA”) represents and advances

a dynamic and growing offshore energy industry, providing solutions that support communities

and protect its workers, the public, and the environment. For nearly 50 years, NOIA has been

committed to ensuring a strong, viable U.S. offshore energy industry capable of meeting the energy

needs of our nation in an efficient and environmentally responsible manner. NOIA member

companies are engaged in traditional oil and natural gas exploration and production, as well as

offshore wind energy development. Further, NOIA’s members include energy developers and, just

as importantly, the businesses—large and small—who do the work of building, supplying, and

servicing these projects.



                                                6
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 7 of 30 PageID #: 7




       13.     Plaintiff Montana Petroleum Association (“MPA”) is a Montana-based trade

association representing over 150 member companies involved in all aspects of the oil and natural

gas industry. MPA’s members include producers, refiners, suppliers, pipeline operators, and

transporters, as well as service and supply companies that support all segments of the industry and

employ a great number of people in Montana. MPA works with elected officials, business groups,

regulatory boards, and agencies to promote policies which incentivize revenue generating resource

production and opposes rules and regulations which hamper future oil and gas opportunities.

       14.     Plaintiff North Dakota Petroleum Council (“NDPC”) has been the primary voice of

the oil and gas industry in North Dakota since 1952. NDPC represents more than 525 companies

who are involved in all aspects of the oil and gas industry including oil and gas production,

refining, pipeline, mineral leasing, consulting, legal work, and oil field service activities in North

Dakota, South Dakota, and the Rocky Mountain region.

       15.     Plaintiff Petroleum Alliance of Oklahoma (“Petroleum Alliance”) is the oil and

natural gas trade association created by the merger of the Oklahoma Independent Petroleum

Association and the Oklahoma Oil & Gas Association. The Petroleum Alliance is the only trade

association in Oklahoma that represents all segments of the oil and gas industry in Oklahoma,

including independent oil and natural gas producers, drilling contractors, midstream companies,

service and supply companies, refineries, contractors, individuals, and mineral owners. This action

is important to Petroleum Alliance members because its resolution will likely have a resounding

impact on its 1,300 members and the oil and gas industry in Oklahoma as a whole.

       16.     Plaintiff Southeast Oil and Gas Association Association, a 501(c)(6) organization,

serves as the oil and gas trade association for Mississippi and Alabama, seeking productive public

policy outcomes towards the furtherance and success of the oil and gas industry.



                                                  7
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 8 of 30 PageID #: 8




         17.   Plaintiff Utah Petroleum Association (“UPA”) is a Utah-based, statewide

petroleum trade association representing companies involved in all aspects of Utah’s oil and gas

industry. UPA exists to serve its member companies and advance the responsible development of

Utah’s natural resources and manufacture of fuels that drive Utah’s economy. Its members range

from independent producers to major oil and natural gas companies widely recognized as industry

leaders responsible for driving technology advancement resulting in environmental and efficiency

gains.

         18.   Plaintiff Western States Petroleum Association (“WSPA”) is a non-profit, mutual

benefit trade association that represents companies that account for the bulk of petroleum

exploration, production, refining, transportation and marketing in the five western states of

Arizona, California, Nevada, Oregon, and Washington. Founded in 1907, WSPA is dedicated to

ensuring that Americans continue to have reliable access to petroleum and petroleum products

through policies that are socially, economically, and environmentally responsible.

         19.   Defendant DOI is a federal agency of the United States within the scope of 5 U.S.C.

§ 701(b)(1) and is responsible for implementing the federal oil and gas leasing program.

         20.   Defendant BLM is a federal agency of the United States within the scope of 5

U.S.C. § 701(b)(1) and has been delegated the responsibility for implementing the onshore federal

oil and gas leasing program.

         21.   Defendant BOEM is a federal agency of the United States within the scope of 5

U.S.C. § 701(b)(1) and has been delegated the responsibility for implementing the federal oil and

gas leasing program on the OCS.

         22.   Defendant Debra Haaland is the Secretary of the Interior. She is sued in her official

capacity.



                                                 8
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 9 of 30 PageID #: 9




         23.   Defendant Laura Daniel-Davis is the Principal Deputy Assistant Secretary for Land

and Minerals Management, exercising the authority of the Assistant Secretary for Land and

Minerals Management. She is sued in her official capacity.

         24.   Defendant Nada Culver is the BLM Deputy Director of Policy and Programs,

exercising the authority of the BLM Director. She is sued in her official capacity.

         25.   Defendant Amanda Lefton is the BOEM Director. She is sued in her official

capacity.

                                 JURISDICTION AND VENUE

         26.   The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1346(a)(2)

(United States defendant) because agencies of the United States government are named defendants,

and 28 U.S.C. § 1331 (federal question jurisdiction) because this action arises under the APA.

         27.   This Court is authorized to award the requested relief under 5 U.S.C. § 706, 28

U.S.C. § 1361, and 28 U.S.C. §§ 2201 & 2202.

         28.   Venue is proper in this Court under 28 U.S.C. §1391(e)(1) because Defendants are

federal agencies of the United States or officers sued in their official capacities or under color of

legal authority; a substantial part of the events or omissions giving rise to the Complaint occur

within this judicial district; many of Plaintiffs’ members are located in this district; and no real

property is involved in this action.

                                       LEGAL BACKGROUND

         A.    Mineral Leasing Act

         29.   The MLA establishes authority for the Secretary to create competitive and

noncompetitive leasing systems for the development of mineral resources on federal public domain

lands.



                                                 9
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 10 of 30 PageID #: 10




       30.     The MLAAL provides authority for the Secretary to lease oil and gas on lands

acquired by the United States generally under the same conditions as in the MLA. For brevity,

references hereinafter to the MLA include the MLAAL.

       31.     Congress, over time, circumscribed the Secretary’s leasing discretion under the

MLA, and in 1987 passed the Federal Onshore Oil and Gas Leasing Reform Act (“FOOGLRA”).

       32.     FOOGLRA added a mandatory duty for the Secretary to lease eligible federal lands

for oil and gas development, requiring that “[l]ease sales shall be held for each State where eligible

lands are available at least quarterly and more frequently if the Secretary of the Interior determines

such sales are necessary.” 30 U.S.C. § 226(b) (emphasis added). BLM subsequently adopted

regulations and guidance further codifying the obligation to hold quarterly lease sales. See 43

C.F.R. § 3120.1-2(a).

       33.     Lands not excluded from leasing by a statutory or regulatory prohibition are

generally deemed eligible for oil and gas leasing.

       34.     Eligible lands not excluded from oil and gas development under an RMP are

generally deemed available for oil and gas leasing.

       35.     Regulations promulgated under the MLA require that lands available for oil and

gas leasing “shall be offered for competitive bidding,” otherwise known as a lease sale. 43 C.F.R.

§ 3120.1-1. Lands can be offered for noncompetitive leasing only after they have been offered

competitively through a lease sale without attracting a bid. Id. § 3110.1.

       36.     A competitive lease sale for onshore federal resources begins with the identification

of potential lease tracts through the nomination process. See 43 C.F.R. §§ 3120.3. BLM issues a

list of lands available for nomination, and then interested parties must nominate particular tracts

by submitting a form approved by the BLM Director. Id. § 3120.3-2.



                                                 10
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 11 of 30 PageID #: 11




          37.   BLM conducts an environmental review pursuant to NEPA on the lands to be

included and then issues a Notice of Competitive Lease Sale, describing the date, time, and place

of the lease sale, which must be posted at least 45 days prior to the sale in the relevant BLM State

Office. Id. §§ 3120.4-1, 3120.4-2.

          38.   Once BLM posts the Notice of Competitive Lease Sale, it provides a 30-day protest

period.

          39.   BLM then publishes a final list of available parcels and holds a lease sale at the

appointed date and time. Lease tracts are offered by oral or internet bidding. Known as a “bonus

bid,” the bids are an amount per acre that the potential lessee offers to pay to receive the lease in

addition to other payments required under the terms of the lease agreement (e.g., annual rental

charges and royalties on any oil or gas produced). The winning bid is the highest bid submitted by

a qualified bidder that equals or exceeds the minimum acceptable bid.

          40.   Since 1987, quarterly federal oil and gas lease sales have been held on eligible

available lands under this statutory framework.

          41.   Defendants have summarily jettisoned this longstanding framework and instead

have indefinitely banned any scheduled lease sales. Following Executive Order 14008 on January

27, 2021, no lease sales have occurred for the first and second quarters of 2021 and for the third

quarter of 2021 to date.

          B.    Federal Land Policy and Management Act

          42.   The Federal Land Policy and Management Act (“FLPMA”), 43 U.S.C. § 1701 et

seq., is a planning statute that governs the Secretary’s and BLM’s administration of onshore public

lands.

          43.   Among other requirements, FLPMA requires the Secretary to “develop, maintain,

and, when appropriate, revise land use plans which provide . . . for the use of public lands.” 43
                                                  11
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 12 of 30 PageID #: 12




U.S.C. § 1712(a). These plans, known as RMPs, are prepared by BLM, the agency that the

Secretary has designated to comply with FLPMA’s requirements. 43 C.F.R. § 1610.1(b).

          44.    In an RMP, BLM can, following public input, designate sections of public lands

as open or closed for certain uses, including oil and gas leasing, and may identify stipulations that

will attach to such activities.

          45.   FLPMA mandates specific procedures prior to the Secretary closing an area to a

particular use. The statute requires that the Secretary notify both chambers of Congress of a

decision in an RMP “that excludes (that is, totally eliminates) one or more of the principal or major

uses for two or more years with respect to a tract of land of one hundred thousand acres or more.”

43 U.S.C. § 1712(e)(1). A “principal or major use” is defined to include oil and gas leasing and

development. See id. § 1702(l).

          46.   Once finalized, the Secretary is prohibited from taking actions on public lands

inconsistent with the provisions of the applicable RMP. See 43 U.S.C. § 1732(a) (“The Secretary

shall manage the public lands . . . in accordance with the land use plans developed by [his or her

predecessors] . . . .”); 43 C.F.R. § 1610.5-3 (“All future resource management authorizations and

actions . . . shall conform to the approved plan.”).

          47.   The Secretary may amend an RMP only through a formal land use plan amendment

process that includes public participation. See 43 U.S.C. § 1712; see also 43 C.F.R. §§ 1610.1-

1610.8.

          48.   Promulgation of RMPs and land use plan amendments are major federal actions

with potential environmental impacts that must also be assessed under NEPA.

          49.   FLPMA also attaches required rigid procedures to decisions to formally withdraw

lands from future uses, including oil and gas leasing. See 43 U.S.C. § 1714. A “withdrawal” under



                                                 12
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 13 of 30 PageID #: 13




FLPMA means “withholding an area of Federal land from settlement, sale, location, or entry under

some or all of the general land laws, for the purpose of limiting activities under those laws in order

to maintain other public values in the area or reserving the area for a particular public purpose or

program.” Id. § 1702(j). This definition includes withholding an area from mineral leasing.

        50.     For any withdrawal of public lands, FLPMA requires that the Secretary publish a

notice in the Federal Register, provide an opportunity for a public hearing and comment, and obtain

consent of other federal, state, or local departments or agencies affected by the withdrawal. Id. §§

1714(b), (h), (i).

        51.     For withdrawals aggregating 5,000 acres or more, FLPMA further mandates that

the Secretary provide a detailed notification to Congress that includes, among other things, an

explanation of why the lands are to be withdrawn, an inventory of the current natural resource

uses, and a statement of the expected length of the withdrawal. Id. § 1714(c).

        52.     On knowledge or belief, no previous Secretary has indefinitely closed or withdrawn

all public lands from federal oil and gas leasing.

        C.      Outer Continental Shelf Lands Act

        53.     Enacted more than 70 years ago, OCSLA declares that the OCS is “a vital national

resource reserve held by the Federal Government for the public,” and that the Secretary of the

Interior should make the OCS “available for expeditious and orderly development, subject to

environmental safeguards, in a manner which is consistent with the maintenance of competition

and other national needs.” 43 U.S.C. § 1332(3) (emphasis added). Indeed, Congress amended

OCSLA to require such “expeditious and orderly development” after making an express finding

inserted into the statute regarding “a variety of technological, economic, environmental,

administrative, and legal problems which tend[ed] to retard the development of the oil and natural

gas reserves.” Id. § 1801(8).
                                                 13
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 14 of 30 PageID #: 14




       54.     OCSLA provides the Secretary with a multi-stage, multi-year planning process to

manage development of the OCS. See 43 U.S.C. § 1344. The first stage mandates that the Secretary

issue and maintain “a schedule of proposed lease sales indicating, as precisely as possible, the size,

timing, and location of leasing activity which [he or she] determines will best meet national energy

needs for the five-year period following its approval or reapproval.” Id. § 1344(a). The product is

commonly known as the “Five-Year Leasing Program.”

       55.        The Five-Year Leasing Program requires multiple rounds of comment solicitation

from federal agencies, governors of affected states, and the public. See generally 30 C.F.R. part

556, subpart B.

       56.     The process begins with the development of proposed leasing maps of OCS areas

and the publication of a notice in the Federal Register inviting comment from interested parties,

including governors of affected states. 30 C.F.R. §§ 556.202(a) & (b). BOEM must further send a

letter to affected governors asking them to identify relevant laws and policies that should be

considered in the planning process. Id. § 556.202(c).

       57.     After considering comments, BOEM must prepare a draft Five-Year Leasing

Program, which is open for additional comments and must be published in the Federal Register.

30 C.F.R. §§ 556.203(a)-(c).

       58.     Concurrently with the notice and comment process, BOEM must also conduct an

environmental analysis under NEPA on the draft Five-Year Leasing Program. This analysis is

subject to its own notice and comment requirements.

       59.     Before approval of the final Five-Year Leasing Program, BOEM must also submit

the proposed final Program to Congress and the President. 30 C.F.R. § 556.205.




                                                 14
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 15 of 30 PageID #: 15




       60.     As BOEM has recognized, the Five-Year Leasing Program preparation process

includes three separate comment periods, two separate draft proposals, a final draft proposal, final

secretarial approval, and development of an Environmental Impact Statement (“EIS”) under

NEPA. This statutorily mandated process usually takes about two and a half years to complete.

       61.     OCSLA mandates that all lease sales must be conducted in accordance with the

Five-Year Leasing Program. 43 U.S.C. § 1344(d)(3) (“[N]o lease shall be issued unless it is for an

area included in the approved leasing program.”).

       62.     OCSLA further mandates that, following preparation of a Five-Year Leasing

Program, BOEM must maintain that program. That is, its mere adoption without subsequent

implementation is insufficient to comply with OCSLA.

       63.     Since 1978, when Congress amended OCSLA to include the five-year planning

requirement, BOEM (and its predecessor agency the Minerals Management Service) have

promulgated nine distinct Five-Year Leasing Programs. Collectively, a leasing program has been

in effect continuously since 1980.

       64.     The current Five-Year Leasing Program is scheduled to expire on July 1, 2022.

BOEM published a draft Five-Year Leasing Program for the period from 2019 to 2024, seeking to

succeed the existing program. However, that program was not finalized. Since January 2021,

Defendants have not completed the lease sales called for under the existing Five-Year Leasing

Program, nor have they engaged in the statutory or regulatory steps required to develop a new

program. Without a program in place, no lease sales can occur on the OCS after July 1, 2022. See

43 U.S.C. § 1344(d)(3).




                                                15
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 16 of 30 PageID #: 16




       D.       National Environmental Policy Act

       65.     Under NEPA, federal agencies must conduct an environmental impact analysis

before undertaking “major federal actions significantly affecting the quality of the human

environment[.]” 42 U.S.C. § 4332(C).

       66.     A “major federal action” means “an activity or decision subject to Federal control

and responsibility” subject to certain conditions and limitations. 40 C.F.R. § 1508.1(q). Major

federal actions generally include, inter alia, “adoption of programs, such as a group of concerted

actions to implement a specific policy or plan; systematic and connected agency decisions

allocating agency resources to implement a specific statutory program or executive directive.” Id.

§ 1508.1(q)(3)(iii).

       67.     The quality of the “human environment” means “comprehensively the natural and

physical environment and the relationship of present and future generations of Americans with

that environment.” 40 C.F.R. § 1508.1(m). Effects or impacts to the human environment include

ecological, aesthetic, historic, cultural, economic, social, or health effects. Id. § 1508.1(g)(1).

These effects also include those resulting from actions that may have “both beneficial and

detrimental effects,” even if on balance the agency believes that the effect is “beneficial.” Id.

       68.     If the action significantly affects the quality of the human environment, the agency

must prepare an EIS assessing the anticipated impacts of the proposed action and a reasonable

range of alternatives on all aspects of the human environment. 42 U.S.C. § 4332(2)(C); 40 C.F.R.

part 1502.

       69.     The agency must engage with the public in this process, including through upfront

scoping and publishing the draft EIS for public comment, and DOI must request comment from

state agencies, local governments, and other interested persons. 40 C.F.R. §§ 1502.9, 1503.1,

1503.4; 43 C.F.R. § 46.435(b).
                                                 16
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 17 of 30 PageID #: 17




                                  FACTUAL BACKGROUND

        70.     President Biden issued Executive Order 14008 on January 27, 2021, directing in

Section 208 that the Secretary of the Interior, consistent with applicable law, “pause new oil and

natural gas leases on public lands or in offshore waters pending completion of a comprehensive

review and reconsideration of Federal oil and gas permitting and leasing practices.” 86 Fed. Reg.

7,619 (Feb. 1, 2021). Executive Order 14008 further directs that “[i]n conducting this analysis, and

to the extent consistent with applicable law, the Secretary of the Interior shall consider whether to

adjust royalties . . . or take other appropriate action, to account for corresponding climate costs.”

Id. at 7,625.

        71.     In response to Executive Order 14008, Defendants have taken a series of final

agency actions to halt all federal oil and gas lease sales both onshore and on the OCS. Defendants

have expressly or impliedly linked these actions to Executive Order 14008.

        72.     Defendants adopted a moratorium by halting the following previously scheduled

BLM and BOEM oil and gas lease sales:

                a.     On January 27, 2021, the Nevada BLM State Office issued an errata sheet

        postponing the federal oil and gas lease sale scheduled for March 9, 2021. The agency had

        posted a Notice of Competitive Oil and Gas Lease Sale announcing the sale for 17 parcels

        only three weeks earlier on January 8, 2021. No rationale was provided for the

        postponement and no announcement has been made as to when the sale might be

        rescheduled.

                b.     On February 12, 2021, the Wyoming BLM State Office updated the posting

        for the March 2021 federal oil and gas lease sale to note that the Wyoming lease sale was

        “postponed to confirm the adequacy of the underlying environmental analysis.” No further



                                                 17
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 18 of 30 PageID #: 18




      reasoning was provided for the postponement and no information has been made public on

      rescheduling.

             c.       On February 12, 2021, the Montana/Dakotas BLM State Office updated a

      posting for its March 23, 2021, federal oil and gas lease sale to indicate that the scheduled

      sale was “paused.” The status remains “paused” as of the date of this filing and no further

      information has been posted on when the sale might be rescheduled.

             d.       On February 12, 2021, the BLM Utah State Office updated the project status

      for a federal oil and gas lease sale scheduled for March 30, 2021, to note that it was

      “cancelled.” The Utah State Office has not provided any further updates on this lease sale.

             e.       On February 12, 2021, the BLM Colorado State Office updated the project

      website for the federal oil and gas lease sale scheduled for March 25, 2021, stating the sale

      “has been postponed.” The Colorado State Office has not announced if the sale might be

      rescheduled.

             f.       On February 12, 2021, the BLM Eastern States Office issued an errata sheet

      postponing the federal oil and gas lease sale scheduled for March 21, 2021 until June 17,

      2021. The Eastern States Office subsequently announced that BLM is “exercising its

      discretion to not hold lease sales in the second quarter of Calendar Year 2021.”

             g.       On February 18, 2021, BOEM rescinded the record of decision for the

      March 17, 2021 Gulf of Mexico OCS oil and gas lease Sale 257 “to comply with Executive

      Order 14008.” See 86 Fed. Reg. 10,132, 10,132 (Feb. 18, 2021).

             h.       On February 23, 2021, BOEM rescinded the public review period for the

      draft EIS for the Cook Inlet OCS Oil and Gas Lease Sale 258 “in response to Executive




                                               18
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 19 of 30 PageID #: 19




       Order 14008.” See 86 Fed. Reg. 10,994 (Feb. 23, 2021). Without an EIS, the lease sale

       cannot move forward as scheduled.

               i.      On March 4, 2021, BLM’s Oklahoma Field Office updated the posting for

       its April 2021 sale to change the status of the upcoming April 2021 lease sale to “paused.”

               j.      On March 4, 2021, BLM’s Pecos, New Mexico District Office updated the

       posting for its April 2021 sale to change the status of the upcoming April 14, 2021 lease

       sale to “paused.”

       73.     On April 21, 2021, the BLM issued a public statement declaring that as a result of

the review required by Executive Order 14008, “the Bureau of Land Management is exercising its

discretion to not hold lease sales in the 2nd quarter of Calendar Year 2021.” The statement makes

no mention of whether BLM expects to hold lease sales in the third or fourth quarters of 2021, or

when it plans to hold a federal oil and gas lease sale again.

       74.     That Defendants chose not to adopt the moratorium through a rulemaking or by

formally mandating a policy shift through a Secretarial order does not alter the reality that

Defendants have implemented the moratorium. The obvious conclusion to be drawn from the

systematic suspension of every federal oil and gas lease sale scheduled for the first and second

quarters of 2021 by both BLM and BOEM, and no indication of imminent leasing, is that there has

been a directive from the highest levels of the Department to halt all such lease sales.

       75.     Defendants may not shield their actions from judicial review simply because they

declined to make their internal directive to cancel federal oil and gas lease sales public. Plaintiffs

challenge the Defendants’ moratorium cumulatively evidenced by their pronouncements and

various final agency actions indefinitely halting federal oil and gas lease sales.




                                                 19
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 20 of 30 PageID #: 20




        76.     Regardless of the label Defendants ascribe to them, Defendants’ collective actions

to halt federal oil and gas lease sales are subject to review in this Court.

        77.     Plaintiffs’ members are significantly harmed by DOI’s decision to indefinitely

suspend further federal oil and gas lease sales. Among other things, many of Plaintiffs’ members

have invested millions of dollars in acquiring and exploring federal oil and gas leases in reliance

that adjacent tracts needed to complete the development of an oil and gas prospect would be

available for lease in scheduled or statutorily mandated lease sales. If operators cannot obtain

access to these additional leases necessary to complete development, their substantial investment

is substantially diminished or may be lost entirely. Especially on the deepwater OCS, prompt

leasing is necessary to sufficiently plan for more than a decade of exploration and development

activities within deadlines specified in the law and active leases.

                                   FIRST CAUSE OF ACTION

(Defendants’ Departure from Previous Policy without Sufficient Explanation and in Excess
                of Statutory Authority Violates the APA, 5 U.S.C. § 706)

        78.     Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–77 as if

fully set forth herein.

        79.     Under the APA, a “reviewing court shall . . . hold unlawful and set aside agency

action . . . found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A).

        80.     When a federal agency shifts its policy or reverses prior decisions, it must provide

a reasoned explanation for the change, or the action will be deemed arbitrary and capricious. This

is particularly true when its prior policy has engendered serious reliance interests that must be

taken into account.




                                                  20
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 21 of 30 PageID #: 21




          81.   Federal courts have also required agencies to provide a more detailed explanation

where its new policy rests upon factual findings that contradict those which underlay its prior

policy.

          82.   Prior to establishing the leasing moratorium, and indeed for decades, Defendants

have engaged in quarterly oil and gas lease sales for available onshore federal lands, and scheduled

lease sales pursuant to a promulgated Five-Year Leasing Program offshore in federal waters.

          83.   Plaintiffs’ members have operated under these longstanding agency practices and

rely upon the availability of new federal leases for oil and gas development to sustain their

businesses.

          84.   Defendants have suddenly and comprehensively upended the status quo by

indefinitely postponing or cancelling all federal oil and gas lease sales without providing any

rationale. Indeed, Defendants are not even willing to publicly admit what they are doing, much

less provide an explanation sufficient to justify the change.

          85.   Defendants’ radical departure from prior policy in implementing the moratorium

without a reasoned explanation was arbitrary, capricious, an abuse of discretion, otherwise not in

accordance with law, and in excess of their authority.

                                SECOND CAUSE OF ACTION

    (Defendants’ Actions Lack Record Support in Violation of the APA, 5 U.S.C. § 706)

          86.   Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–85 as if

fully set forth herein.

          87.   When an agency has not stated any reasons to support a decision, its decision is

inherently arbitrary and capricious.




                                                 21
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 22 of 30 PageID #: 22




       88.     The agency must be able to provide the essential facts upon which the

administrative decision was based and explain what justifies the determination with actual

evidence beyond conclusory statements.

       89.     In implementing their moratorium, Defendants have not even issued any statement

recognizing their actions. Rather, Defendants have sought to deny the very fact of its existence.

Defendants’ actions lack record support and fail to consider all relevant factors.

       90.     The moratorium’s adoption mere days after the new administration took office

precludes any meaningful administrative record or environmental review to support the

moratorium.

       91.     Defendants also ignore relevant evidence. For example, as part of the issuance of

the current Five-Year Leasing Program during the Obama administration, BOEM developed and

in 2017 issued a Programmatic EIS which concluded that greenhouse gas emissions relating to the

lease sales in the proposed leasing program would be lower than a no-action alternative (i.e., no

lease sales) because of the effect of substituting oil and gas production and imports from countries

with less robust environmental regulation surrounding oil and gas production. See, e.g., 2017-2022

OCS Oil and Gas Leasing Program Final Programmatic EIS at 4-8. Accordingly, the no-action

alternative mirroring the moratorium poses worse effects for the global environment than

continuing domestic lease sales as scheduled. Defendants cited no contrary evidence in imposing

the moratorium preventing all lease sales under the approved Five-Year Leasing Program.

       92.     Defendants fail to reconcile the moratorium with the 2017 Programmatic

Environmental Impact Statement’s conclusions that greenhouse gas emissions would increase if

lease sales were not held.




                                                22
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 23 of 30 PageID #: 23




        93.     Defendants’ decision to impose a moratorium on federal oil and gas lease sales

without any record and in conflict with its own prior factual determinations was arbitrary,

capricious, an abuse of discretion, and otherwise not in accordance with law.

                                  THIRD CAUSE OF ACTION

 (Halting All Onshore Federal Oil and Gas Lease Sales Violates the MLA, 30 U.S.C. § 226,
                              and the APA, 5 U.S.C. § 706)

       94.      Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–93 as if

fully set forth herein.

       95.      Also under the APA, a “reviewing court shall . . . hold unlawful and set aside agency

action… found to be … in excess of statutory jurisdiction, authority, or limitations, or short of

statutory right.” 5 U.S.C. § 706(2)(C).

       96.      The APA additionally provides that a “reviewing court shall . . . compel agency

action unlawfully withheld or unreasonably delayed.” 5 U.S.C. § 706(1).

       97.      In 1987, Congress amended the MLA through FOOGLRA to require that “[l]ease

sales shall be held for each State where eligible lands are available at least quarterly and more

frequently if the Secretary of the Interior determines such sales are necessary.” 30 U.S.C.

§ 226(b)(1)(A) (emphasis added).

       98.      BLM has issued a regulation implementing this directive. See 43 C.F.R. § 3120.1-

2(a) (“Each proper BLM State office shall hold sales at least quarterly if lands are available for

competitive leasing.”).

       99.      Defendants have halted all onshore federal oil and gas lease sales for the first and

second quarters of 2021. Defendants also have not announced the resumption of leasing.

       100.     Defendants have not declared all onshore federal lands ineligible or unavailable.

Nor have Defendants undertaken the prerequisite steps for such drastic action.


                                                 23
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 24 of 30 PageID #: 24




         101.   Defendants do not have the authority under the MLA to cease conducting all lease

sales.

         102.   Defendants’ failure to hold quarterly lease sales on eligible available onshore lands

violates the MLA’s express statutory command and therefore is arbitrary and capricious, is in

excess of Defendants’ statutory authority, and unlawfully withholds or unreasonably delays

required lease sales.

                                FOURTH CAUSE OF ACTION

 (Halting All Onshore Federal Oil and Gas Lease Sales Constitutes an Improper Closure or
  Withdrawal under FLPMA, 43 U.S.C. §§ 1712, 1714, 1732, and the APA, 5 U.S.C. § 706)

         103.   Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–102 as if

fully set forth herein.

         104.   The APA also provides that a “reviewing court shall . . . hold unlawful and set aside

agency action . . . found to be . . . without observance of procedure required by law.” 5 U.S.C.

§ 706(2)(D).

         105.   FLPMA provides specific procedural steps with which Defendants must comply

prior to closing or withdrawing public lands from future oil and gas leasing.

         106.   To close an area greater than 100,000 acres to oil and gas development in an RMP,

the Defendants must notify both chambers of Congress. See 43 U.S.C. § 1712(e)(2).

         107.   FLPMA also provides a mechanism to withdraw areas from a particular use,

including oil and gas development. To do so, the statute requires Defendants to publish a notice in

the Federal Register. See 43 U.S.C. § 1714(b). For withdrawals aggregating five thousand acres or

more, additional procedural requirements apply, including that the Secretary must notify both

chambers of Congress and provide detailed information to Congress regarding the withdrawals.

See id. § 1714(c).


                                                 24
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 25 of 30 PageID #: 25




        108.    If an area is not closed to oil and gas development in an RMP or otherwise

withdrawn, the Secretary cannot exclude it from such use. See id. § 1732(a).

        109.    Defendants have not provided the relevant notice required to close or withdraw

public lands from oil and gas leasing as required under FLPMA.

        110.    The moratorium on onshore federal oil and gas lease sales excludes such lands from

use in oil and gas development, and therefore constitutes a closure or a withdrawal within the

meaning of FLPMA without following the statutory requirements for effecting such a closure or

withdrawal.

        111.    In effectuating the moratorium, Defendants have acted arbitrarily and capriciously,

exceeded their statutory authority, and failed to observe necessary procedures under FLPMA.

                                  FIFTH CAUSE OF ACTION

  (Halting All OCS Federal Oil and Gas Lease Sales Violates OCSLA, 43 U.S.C. § 1331 et
                           seq., and the APA, 5 U.S.C. § 706)

        112.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–111 as if

fully set forth herein.

        113.    The statutory purpose behind OCSLA is to ensure the Secretary makes the OCS

“available for expeditious and orderly development, subject to environmental safeguards, in a

manner which is consistent with the maintenance of competition and other national needs.” 43

U.S.C. § 1332(3) (emphasis added).

        114.    Defendants have rescinded the record of decision for Gulf of Mexico Oil and Gas

Lease Sale 257. Defendants also have cancelled the comment period on the draft EIS for Cook

Inlet OCS Oil and Gas Lease Sale 258. Defendants have provided no indication if or when the

record of decision or draft EIS will be revised and reissued. Both lease sales were scheduled to

take place in 2021, but neither can take place as a result of Defendants’ moratorium.


                                                25
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 26 of 30 PageID #: 26




        115.    Defendants’ moratorium on all oil and gas leasing on the OCS countermands

OCSLA’s purpose and requirements to plan for and hold lease sales.

        116.    OSCLA does not provide the Secretary statutory authority to indeterminately cease

all oil and gas leasing on the OCS.

       117.     Defendants’ failure to hold OCS lease sales therefore is arbitrary and capricious, is

in excess of Defendants’ statutory authority, and unlawfully withholds or unreasonably delays

required lease sales.

                                  SIXTH CAUSE OF ACTION

    (Preclusion of Timely Issuance of a Five-Year Leasing Program Violates OCSLA, 43
                     U.S.C. § 1331 et seq., and the APA, 5 U.S.C. § 706)

        118.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–117 as if

fully set forth herein.

       119.     The current Five-Year Leasing Program is scheduled to expire on July 1, 2022.

       120.     Defendants cannot complete all requisite steps to timely propose and adopt a new

Five-Year Leasing Program before the current program expires.

       121.     The moratorium indefinitely precluding any OCS lease sales further ensures

Defendants will not timely adopt a new Five-Year Leasing Program.

       122.     Absent an approved Five-Year Leasing Program, Defendants cannot hold lease

sales. See 43 U.S.C. § 1344(d)(3).

       123.     Defendants have therefore both indefinitely postponed scheduled OCS lease sales,

and through inaction ensured no lease sales can take place after July 1, 2022.

       124.     OSCLA does not provide the Secretary the statutory authority to indeterminately

cease oil and gas leasing on the OCS.




                                                 26
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 27 of 30 PageID #: 27




       125.     Defendants’ failure to timely issue a new Five-Year Leasing Program therefore is

arbitrary and capricious, is in excess of Defendants’ statutory authority, and unlawfully withholds

or unreasonably delays that required action.

                                SEVENTH CAUSE OF ACTION

      (The Moratorium Violates NEPA, 42 U.S.C. § 4332, and the APA, 5 U.S.C. § 706)

        126.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–125 as if

fully set forth herein.

        127.    NEPA requires federal agencies to prepare an EIS before undertaking “major

federal actions significantly affecting the quality of the human environment[.]” 42 U.S.C.

§ 4332(C).

        128.    Implementation of a nationwide federal oil and gas leasing moratorium is a major

federal action “significantly affecting the quality of the human environment,” and NEPA therefore

requires the preparation of an EIS. See 42 U.S.C. § 4332(C); see also 40 C.F.R. § 1508.1(q)(3).

        129.    Defendants undertook no NEPA review, in an EIS or other NEPA document, prior

to adopting the leasing moratorium.

        130.    To the extent Defendants claim that the moratorium is to facilitate an environmental

review, that assertion does not negate or fulfill NEPA’s requirement to assess the impact of

indefinitely suspending lease sales before engaging in such actions.

        131.    Defendants’ decision to suspend all federal oil and gas leasing without conducting

an environmental review violates NEPA and denies the public its right to participate in informed

agency decision-making.




                                                 27
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 28 of 30 PageID #: 28




                                 EIGHTH CAUSE OF ACTION

   (The Moratorium Violates the Procedural Requirements for Substantive Rulemaking
                         under the APA, 5 U.S.C. §§ 553, 706)

        132.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–131 as if

fully set forth herein.

        133.    Implementation of a nationwide federal oil and gas leasing moratorium is a rule

because it is an agency statement of general or particular applicability and future effect designed

to implement, interpret, or prescribe law or policy or describing the organization, procedure, or

practice requirements of an agency. See 5 U.S.C. § 551(4).

        134.    Implementation of a nationwide federal oil and gas leasing moratorium is a

substantive, or legislative, rule because it mandates requirements that were not in place before,

supplements existing law, and does not simply reiterate existing duties.

        135.    Implementation of a nationwide federal oil and gas leasing moratorium is a

substantive rule because it also contravenes or amends existing regulations for leasing oil and gas

onshore and on the OCS. See 43 C.F.R. § 3120.1-2(a); 30 C.F.R. part 556, subpart B.

        136.    Defendants failed to provide a notice of rulemaking in the Federal Register, and

allow comment by interested parties, as required for a substantive rule. See 5 U.S.C. § 553(b)-(c).

        137.    The moratorium does not meet any exception to notice and comment rulemaking.

        138.    These failures violate the APA and deny the public its right to participate in

informed agency decision-making.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that this Court:

                a. Declare that Defendants’ actions are arbitrary, capricious, an abuse of

                    discretion, or otherwise not in accordance with law;


                                                28
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 29 of 30 PageID #: 29




             b. Declare that Defendants’ actions are beyond their statutory authority under the

                MLA, MLAAL, and OCSLA;

             c. Declare that Defendants failed to observe required procedure under FLPMA;

             d. Declare that Defendants failed to comply with NEPA;

             e. Compel Defendants to proceed with lease sales under the MLA, MLAAL, and

                OCSLA, to the same extent as prior to Executive Order 14008;

             f. Compel Defendants to promptly adopt a new Five-Year Leasing Program for

                OCS leasing;

             g. Award Plaintiffs their costs and attorneys’ fees; and

             h. Grant such other legal or equitable relief as the Court may deem just and proper.

Dated: August 16, 2021

                                           Respectfully submitted,


                                           /s/ Kenneth H. Laborde
                                           KENNETH H. LABORDE (NO. 8067)
                                           VICTORIA E. EMMERLING (NO. 33117)
                                           GIEGER, LABORDE & LAPEROUSE
                                           701 Poydras Street, Suite 4800
                                           New Orleans, Louisiana 70139
                                           Telephone:     (504) 561-0400
                                           Facsimile:     (504) 561-1011
                                           Email: klaborde@glllaw.com
                                                  temmerling@glllaw.com

                                                   -AND-

                                           PETER J. SCHAUMBERG
                                           JAMES M. AUSLANDER
                                           BEVERIDGE & DIAMOND PC
                                           1900 N St. NW Suite 100
                                           Washington, DC 20036
                                           Phone: (202)789-6000 Fax: (202)789-6000
                                           Email: pschaumberg@bdlaw.com
                                                   jauslander@bdlaw.com

                                              29
Case 2:21-cv-02506-JDC-KK Document 1 Filed 08/16/21 Page 30 of 30 PageID #: 30




                                    Attorneys for Plaintiffs American Petroleum
                                    Institute, American Exploration & Production
                                    Council, Independent Petroleum Association of
                                    America, International Association of Drilling
                                    Contractors,    International   Association     of
                                    Geophysical Contractors, National Ocean Industries
                                    Association, Montana Petroleum Association, North
                                    Dakota Petroleum Council, Petroleum Alliance of
                                    Oklahoma, Southeast Oil and Gas Association, Utah
                                    Petroleum Association, and Western States
                                    Petroleum Association




                                      30
